          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:02CR45


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           vs.                           )           ORDER
                                         )
                                         )
PATRICK TODD BURLESON                    )
                                         )


     THIS MATTER is before the Court on the Defendant’s motion to

revise the Statement of Reasons filed with the Defendant’s presentence

report.1 No response or objection to the relief sought has been filed by the

Government.

     Defendant alleges that the Statement of Reasons prepared in his

case conflicts with the Court’s rulings at his sentencing hearing. The

questioned portion of the Statement of Reasons reads:




     1
       At the time Defendant was sentenced in 2003, the Statement of
Reasons was prepared by the Court and placed in the custody of the U.S.
Probation Office along with Defendant’s presentence report. With the
advent of electronic filing, the Statement of Reasons is now filed
electronically, albeit under seal.


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      The court adopts the factual findings and guideline application
      in the presentence report except . . .: The 2-level enhancement
      pursuant to USSG § 2D1.1(b)(1) is sustained.

Statement of Reasons, received by the U.S. Probation Office October

15, 2003 (emphasis added). Section 2D1.1(b)(1) provides for a two-level

enhancement to a defendant’s sentence for a firearm possessed during a

drug offense. Defendant states the firearm enhancement was withdrawn

by the Government at sentencing and that the Court ordered the

presentence report to be amended accordingly. In addition, the Defendant

states this enhancement has detrimental effects on his incarceration within

the Bureau of Prisons and asks the Court to revise the Statement of

Reasons to reflect the intent of the Court at sentencing. Motion, supra.

      The transcript of the sentencing hearing corroborates Defendant’s

recollection of events.

      Defense counsel:        With the consent of the parties, Your
                              Honor, in speaking with Ms. Rose,
                              we’ve agreed that the two-point
                              enhancement for the firearms does not
                              apply in this case, and the objection
                              regarding the organizer and leader is
                              withdrawn. So that would leave the
                              offense level at a level 35, Your Honor.

      The Court:              All right. . . . [L]et the record reflect that
                              the Presentence Investigation Report is



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                              amended to reflect that agreement
                              between the parties.

                                      ...

      AUSA Rose               [O]ne of the reasons for the concession
                              with the two-level enhancement for the
                              gun is not necessarily a factual
                              concession but it is one that addresses
                              the amendments to the [motion for
                              downward departure] based upon the
                              trial testimony that he provided and also
                              to reward this defendant in a further
                              way, because, as you know, the gun
                              enhancement could significantly impact
                              his placement within the Bureau of
                              Prisons. So, in case the court was
                              wondering why there was no mention
                              within the 5K for further downward
                              departure related to his trial testimony,
                              it’s because we balanced that out with
                              concessions to the two-point firearm
                              enhancement for that testimony and, of
                              course, are looking at his future in the
                              BOP.

Transcript of Sentencing Proceedings, filed August 14, 2006, at 3-4, 5-

6 (emphasis added). Therefore, instead of the two-point firearms

enhancement being sustained, the Statement of Reasons should have

reflected that such enhancement was withdrawn.

      The Federal Rules of Criminal Procedure provide that the Court “may

at any time correct a clerical error in a judgment, order, or other part of the



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record, or correct an error in the record arising from oversight or omission.”

Fed. R. Crim. P. 36 (emphasis added). The statement of reasons must

conform to a court’s oral pronouncement of judgment. See United States

v. Cardwell, 220 F. App’x 213, 214 (4th Cir. 2007) (“We thus vacate and

remand Cardwell’s sentence for the district court to correct its

‘Statement of Reasons’ under Rule 36. The Court should correct its

‘Statement of Reasons’ form to correspond to its oral pronouncement

at sentencing.”).

      IT IS, THEREFORE, ORDERED that the Defendant’s motion to

revise the Statement of Reasons filed herein is ALLOWED, and the

Statement of Reasons shall be amended as provided in this Order.

      IT IS FURTHER ORDERED that the Clerk transmit a copy of the

Amended Statement of Reasons to the Warden of the correctional facility

where the Defendant is currently incarcerated.

                                      Signed: January 23, 2008




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